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101 SW Main St., Ste. 1800
Portland, OR 97204-3219
(503) 228-2525
Attorneys for Plaintiff




                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION


 PORTLAND GENERAL ELECTRIC                    Case No.: 3:22-cv-00533
 COMPANY, an Oregon corporation,

                                Plaintiff,

 v.

 STATE OF OREGON, by and through
 THE OREGON DEPARTMENT OF STATE
 LANDS, and +/- FIVE ACRES OF
 UNIMPROVED LAND/ALONG THE
 WILLAMETTE RIVER NEAR WEST
 LINN, OREGON,

                                Defendants.


                             NOTICE OF CONDEMNATION

To:      Oregon Department of State Lands       Copy to:      Matthew B. Devore
         775 Summer St. NE, Suite 100                         Assistant Attorney General
         Salem, OR 97301                                      Oregon Dept. of Justice
                                                              1162 Court St NE
                                                              Salem, OR 97301



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         This Notice of Condemnation is served pursuant to Rule 71.1(d) of the Federal Rules of

Civil Procedure.

         1.      The Plaintiff, Portland General Electric Company (“PGE”), has filed a Complaint

in the Portland Division of the United States District Court for the District of Oregon to acquire

by condemnation certain interests in real property in which you may claim to or do hold an

interest.

         2.      The property to be condemned (“the Property”) is a parcel of land legally

described on Exhibit A.

         3.      PGE seeks to acquire all of your interests in the Property, up to and including fee

title.

         4.      PGE operates the Willamette Falls Hydroelectric Project (“the Project”) pursuant

to a license issued by the Federal Energy Regulatory Commission (“FERC”) pursuant to the

Federal Power Act. The Property is within the FERC licensed area. Ownership and control of

the Property, including the inherent right through ownership to control persons seeking to access

the Property, are required for PGE to meet its obligations of the FERC license. The Property is

necessary and appropriate in PGE’s maintenance and operation of the Project, including

hydroelectric power generation, public and Project safety, management of environmental

resources, protection of historic properties, and other beneficial public uses required by the

Project license and the Federal Power Act.

         5.      The authority for this condemnation action is Section 21 of the Federal Power

Act, 16 U.S.C. § 814.

         6.      You may serve an answer on PGE’s attorneys within 21 days after being served

with this Notice.



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         7.      Failure to serve an answer will constitute consent to the taking of your interests in

the Property and to the Court’s authority to proceed with the condemnation action and fix the

compensation.

         8.      If you do not serve an answer, you may file a notice of appearance.

         9.      The names, address, phone numbers, and email addresses of PGE’s attorneys can

be found in the signature block below. PGE may be served through its attorneys at the address

for Ball Janik LLP below.

Dated: April 8, 2022.

                 Plaintiff’s Attorneys:                s/ Stephen T. Janik
                                                       Stephen T. Janik

                                                       s/ Jack L. Orchard
                                                       Jack L. Orchard

                 Oregon State Bar Nos.:                Stephen T. Janik, OSB 741538
                                                       Jack L. Orchard, OSB 721888

                 Lawfirm:                              Ball Janik LLP
                 Street Address:                       1800 One Main Place
                                                       101 SW Main Street
                 State and Zip Code:                   Portland, Oregon 97204-3219

                 Telephone Number:                     (503) 228-2525

                 Email Addresses:                      sjanik@balljanik.com
                                                       jorchard@balljanik.com




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